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                IN THE UNITED STATES BANKRUPTCY COURT
              FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 IN RE: Barbara Jean Sims             :     Chapter 13

       Debtor(s)                      :     Bankruptcy No. 21-12240-amc



               DEBTOR(s) MOTION FOR EXTENSION OF TIME

       Debtor(s), Barbara Jean Sims through his/her/their

 attorney, Timothy E. Wilfong, Esquire, hereby requests an

 extension of fourteen (14) days to file all required documents

 and sets forth in support thereof as follows:

    1. Debtor(s) filed the bankruptcy case on August 13, 2021

 without attaching all required documents.

    2. The Court Ordered all required documents to be filed on

 or before August 27, 2021.

    3. Debtor(s) has filed the Petition, Matrix and Certificate

 of Credit Counseling.

    4. Debtor(s) filed an emergency bankruptcy petition on

 August 13, 2021 to stay the Sheriff sale of her home. The

 Sheriff sale had been scheduled for August 19, 2021. The

 Sheriff sale arose from a foreclosure action based on a

 delinquent sewer authority lien.          Debtor requests additional

 time to collect the last remaining documents and information

 essential for the accurate and complete preparation of the

 outstanding bankruptcy schedules and the Chapter 13 Plan.

 Debtor is making diligent efforts to obtain the last remaining

 documents and information.
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    5. The movant does consent to the entry of a final order or

 judgment by the court if it is determined that the court,

 absent consent of the parties, cannot enter a final order or

 judgment consistent with Article III of the United States

 Constitution.

       WHEREFORE, it is respectfully requested that said

 extension of time be granted to file the required documents on

 or before September 10, 2021.



                                      Respectfully Submitted,

                                      /s/ Timothy E Wilfong
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